

People v Stocks (2023 NY Slip Op 05104)





People v Stocks


2023 NY Slip Op 05104


Decided on October 10, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 10, 2023

Before: Manzanet-Daniels, J.P., Gesmer, González, Kennedy, O'Neill Levy, JJ. 


Ind. No. 1511/17 Appeal No. 743 Case No. 2018-04226 

[*1]The People of the State of New York, Respondent,
vXavier Stocks, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Frank Xiao of counsel), for appellant.



Judgment, Supreme Court, Bronx County (April A. Newbauer, J.), rendered September 14, 2018, convicting defendant, upon his plea of guilty, of assault in the third degree, and sentencing him to a conditional discharge for a period of one year, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharge and fees imposed at sentencing, and otherwise affirmed.
Based on our own interest of justice powers, we vacate the surcharge and fees
imposed on defendant at sentencing (see People v Chirinos, 190 AD3d 434, 435 [1st Dept 2021]). We note that the People do not oppose this relief. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 10, 2023








